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EXHIBIT A

 
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REGISTER NO:

FACL ASSIGNMENT DESCRIPTION
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INMATE EDUCATION DATA

TRANSCRIPT
19503-075 NAME“. HARNESS
..: TRANSCRIPT RSP OF: THA-TERRE HAUTE

EDUCATION INFORMATION

ENGLISH PROFICIENT
ENROLL GED NON-~PROMOTABLE

EDUCATION COURSES

DESCRIPTION START DATE
AT RISK PROGRAM - HOLL 07-19-2014
AT RISK PROGRAM - UNIT 06-13-2014
CALISTHENICS 04-10-2014
JUMP ROPE CLASS @ FCI 04-10-2014
EDUCATIONAL ABDONIMAL EXER. 04-10-2014
FCI HEALTH FAIR 3-24-2014 03-22-2014
AT RISK PROGRAM - UNIT 03-12-2014

TRANSACTION SUCCESSFULLY COMPLETED

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FCI

FUNC: PRT

START DATE/TIME STOP DATE/TIME
05-30-2014 1459 CURRENT
05-30-2014 1459 CURRENT

STOP DATE EVNT AC LV HRS

CURRENT

06-22-2014
06-21-2014
06-21-2014
06-21-2014
03-27-2014
03-21-2014

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